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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


ELIZABETH AGUILERA, CRYSTAL
RUSSELL, TERESA DISALVO, EMMA
MENDOZA, and SHAUNTIQUEA FOSTON,
individually and on behalf of themselves and all
others similarly situated,
                                                          Case No. 1:18-cv-3550
                        Plaintiffs,
               v.

NuWave, LLC

                        Defendant.


    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FEDERAL RULE OF
                   CIVIL PROCEDURE 41(a)(1)(A)(i)
       Pursuant to the Federal Rules of Civil Procedure, Rules 41(a)(1)(A)(i) and 23(e), Plaintiff

Crystal Russell voluntarily dismisses her claims against Defendant NuWave, LLC in the above-

captioned action. Defendant has not yet served either an answer to Plaintiff’s Class Action

Complaint or a motion for summary judgment. Plaintiff’s dismissal is without prejudice pursuant to

Rule 41(a)(1)(B).


Dated: April 10, 2019                         Respectfully submitted,


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                                 NOTICE OF VOLUNTARY DISMISSAL
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                      NOTICE OF VOLUNTARY DISMISSAL
